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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   SellPoolSuppliesOnline.com LLC,                 No. CV-15-01856-PHX-BSB
10                 Plaintiff,                        ORDER
11   v.
12   Ugly Pools Arizona Inc., et al.,
13                 Defendants.
14
15          Plaintiff   SellPoolSuppliesOnline.com   LLC    (“Plaintiff”   or   “SPSO”)   and
16   Defendants Ugly Pools Arizona, Inc. and Brian Morris (“Defendants”) have filed second
17   cross-motions for summary judgment on Count One of the First Amended Complaint
18   (“FAC”), in which Plaintiff asserted a claim for copyright infringement under the United
19   States Copyright Act, 17 U.S.C. § 501(a) (the “Copyright Act”). (Docs. 78, 79.) For the
20   reasons below, the Court grants Defendants’ motion and denies Plaintiff’s motion.
21   I.     Factual and Procedural Background
22          Plaintiff asserted the following three counts in the FAC: (1) copyright
23   infringement under the Copyright Act, 17 U.S.C. § 501(a) (Count One); (2) unfair
24   competition under Arizona law (Count Two); and (3) violation of the Digital Millennium
25   Copyright Act, integrity of copyright management information under 17 U.S.C. § 1202
26   (Count Three). (Doc. 39.) The parties previously filed cross-motions for summary
27   judgment on all three counts of the FAC, including Count One. (Docs. 43, 45.) On June
28   9, 2017, the Court denied both motions for summary judgment on Count One without
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 1   prejudice.1   (Doc. 64 at 42.)    The Court granted summary judgment in favor of
 2   Defendants on Count Two. (Id.) The Court granted summary judgment in favor of
 3   Defendants on Plaintiff’s removal claim under 17 U.S.C. § 1202(b), asserted in Count
 4   Three. (Doc. 64 at 42.) The Court denied both motions for summary judgment on
 5   Plaintiff’s falsification claim under 17 U.S.C. § 1202(a), asserted in Count Three. (Id.)
 6   This order addresses only the parties’ second cross-motions for summary judgment on
 7   Count One.     In a separate order the Court addresses Defendants’ third motion for
 8   summary judgment on Plaintiff’s falsification claim, asserted in Count Three. (Doc. 86.)
 9          A.     General Background Regarding the Copyright Dispute
10          Plaintiff describes its business as licensing pre-made websites that it refers to as
11   “the Platform.” (Doc. 78-1 ¶ 1.)2 Plaintiff alleges that the Platform consists of “a
12   compilation of programs, representations, originally authored works, writings, hundreds
13   of photos taken by the principals of SPSO, and computer architecture and design, which
14   provide SPSO licensees the infrastructure to configure, implement, and maintain fully
15   functional and attractive websites based on the Platform that are personalized to each
16   customer’s business.” (Id., ¶ 2.) As delivered to customers, the Platform incorporates
17   and effectively uses search engine optimization (“SEO”) and provides “drop-ship”
18   delivery that dispenses with the need for customers to maintain inventory. (Id.) Plaintiff
19   alleges that it spent three years and “hundreds of thousands of dollars developing the
20   Platform.” (Id., ¶ 3.) However, Plaintiff has admitted that “much of the website code” is
21   licensed from BigCommerce, a non-party entity that provides “backend electronic
22   storefront” services. (Doc. 53, Ex. Q.)
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              Defendants also filed a motion for an order directing Plaintiff to cancel or
25   amend its copyright registration. (Doc. 53.) The Court denied that motion, but
     considered Defendants’ arguments in its analysis of the parties’ first cross-motions for
26   summary judgment on Count One. (Doc. 64 at 9, 13-14.)
27          2
              Docket 78-1 is Plaintiff’s Separate Statement of Facts in Support of Plaintiff’s
     Second Motion for Summary Judgment. Plaintiff cites to this document as “SSOF.”
28   (Doc. 78.) Because there are multiple motions for summary judgment in this case, the
     Court cites to the CM/ECF docket and page numbers to avoid confusion.

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 1          In July 2014, SPSO employed Mark Kesler as a salesperson to sell licenses to use
 2   the Platform; the licenses sold for an average of $15,000. (Doc. 78-1 ¶¶ 5, 6.) Plaintiff
 3   alleges that it charged monthly maintenance fees and required licensees to host their
 4   websites on SPSO’s servers. (Id., ¶ 7.) Plaintiff paid Kesler a commission for each
 5   license he sold, and Kesler purchased a license for use on his own site,
 6   “allpoolandspaparts.com” (“Kesler’s site”). (Id., ¶ 8.)
 7          During 2014, Kesler introduced Defendant Brian Morris, owner of Defendant
 8   Ugly Pools Arizona, Inc., and the trade name “We Fix Ugly Pools” (“WFUP”), to
 9   Plaintiff as a potential licensee. (Id., ¶ 13.) Defendants build and remodel swimming
10   pools, and sell pool supplies and accessories in Maricopa County, Arizona and
11   surrounding areas.     (Id., ¶ 14.)   Defendants represented themselves to Plaintiff as
12   prospective customers who were considering purchasing a license of SPSO’s Platform to
13   create a website for their business. (Id., 15.)
14          Plaintiff provided Defendants access to Kesler’s copy of the Platform to assist
15   them in making a purchasing decision. (Id., ¶ 16.) Plaintiff alleges that “Defendants
16   were aware that they would have to purchase a license to be authorized to have further
17   access to the Platform—that is, to use it commercially—and that the SPSO license
18   governed the nature of their use of the Platform.” (Id.) Unbeknownst to Plaintiff,
19   Defendants and Kesler were working together and had formed a partnership for Morris to
20   manage and redesign Kesler’s site.        (Id., ¶ 18, Ex. 2 at 37.)   Plaintiff alleges that
21   Defendants downloaded “a complete copy of SPSO’s Platform.” (Id., ¶ 20.) Plaintiff
22   alleges that after the download, Defendants stopped communicating with Plaintiff. (Id.)
23          Plaintiff alleges that nearly one year later, Defendants published a website located
24   at allpoolsupplies.com (“APS”), which was nearly identical to the Platform. (Id., ¶ 22.)
25   Plaintiff asserts that Defendants admitted to copying the Platform and creating APS, a
26   derivative site. (Id.) The site was “launched live on the internet as a fully functioning
27   site through which customers could, and did place orders.” (Id., ¶ 24.) Plaintiff alleges
28   that Defendants’ site “wholly incorporated the original photos which are registered with


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 1   the U.S. Copyright Office under Registration Number TX 8-268-803 (“Registered
 2   Photos”) and other content from the Platform into APS.” (Id., ¶¶ 28-29). Plaintiff alleges
 3   that Kesler’s license was granted specifically for use on his site located at
 4   “allpoolandspaparts.com” and that the license strictly limited use of the Platform to that
 5   site. (Id., ¶¶ 9, 30.) Plaintiff discovered Defendants’ allegedly infringing website on July
 6   15, 2015 and notified Defendants of the alleged infringement that same day. (Id., ¶ 35.)
 7          B.     Background related to Plaintiff’s Copyright Registration
 8          On September 13, 2015, four days before filings its original complaint, Plaintiff
 9   filed a copyright registration application with the copyright office for a work titled
10   “SPSO Website www.poolandspapartsnow.com” (the “Work”).3 (Doc. 53, Ex. A.) The
11   registration application identified the Work’s year of completion as 2015, and the date of
12   first publication as August 26, 2015. (Id.) The application identified the copyright claim
13   in the Work as including “new material” identified as “text, photograph(s), computer
14   program” and excluding “text, photograph(s), computer program, artwork.” (Doc. 50,
15   Ex. 9; Doc. 80 ¶ 31.)4
16          On September 20, 2016, the copyright office contacted Plaintiff’s counsel
17   regarding “problems” with information in the application related to the identity of the
18   original copyright owner. (Doc. 53, Ex. E; Doc. 53-5 at 2.) Plaintiff responded that
19   SPSO was the owner of the text, photographs, and computer programs claimed in the
20   application. (Doc. 53, Ex. E; Doc. 53-5 at 3-5.)
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               “To register a claim to copyright, an applicant must submit the following items
23   to the U.S. Copyright Office: [1] Completed application; [2] Full filing fee; and [3] The
     requisite deposit copy(ies) of the work.” Compendium of U.S. Copyright Office Practices
24   § 204 (3d ed. 2017) (cited as COMPENDIUM (THIRD).) The “deposit . . . refers to the copy
     or copies of a work that are submitted to the U.S. Copyright Office.” Id. at § 204.3.
25
            The COMPENDIUM (THIRD) is an “administrative manual” that “explains many of
26   the practices and procedures concerning the [Copyright] Office’s mandate and statutory
     duties under title 17 of the United States Code.” (Doc. 72-1 at 3 (quoting 37 C.F.R.
27   § 201.2(b)(7)).)
28          4
             Docket 80 is Defendants’ Separate Statement of Facts in Support of their Second
     Motion for Summary Judgment. (Docs. 80, 80-1, 80-2, 80-3.)

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 1          On October 6, 2016, the copyright office again contacted Plaintiff and asked
 2   “[s]ince this application is to register the website as it appeared (published) on 8/26/2015,
 3   was any of the computer code or were any of the photographs from an earlier version of
 4   the website?” (Doc. 53, Ex. F; Doc. 80 ¶ 33.) The copyright office explained that any
 5   photographs or code that appeared in earlier website versions “must be excluded from
 6   this claim since the extent of claim for a revised, or derivative, work is based only on the
 7   new and revised material contained in the later version of the work.” (Doc. 53, Ex. F.)
 8   Plaintiff’s counsel responded that some of the deposit’s content “may have been from an
 9   earlier version of the website BUT we need special dispensation because this is the first
10   time registration of the website and no copy (i.e., mirror or backup) of the prior website
11   exists.” (Doc. 53, Ex. H; Doc. 80 ¶ 34.)
12          On October 14, 2016, the copyright office denied the requested exception.
13   (Doc. 53, Ex. I; Doc. 80 ¶ 35.) The copyright office explained that “[w]e can only
14   register the website as it appeared on the date on which it was printed, not for any past or
15   future versions.” (Doc. 53, Ex. I; Doc. 80 ¶ 35.) The copyright office also stated “if any
16   of the content of the website ever appeared online or in any other form previous to the
17   version submitted, please authorize me to exclude all of the preexisting material and to
18   limit the claim to the new and revised material in this version of the website.” (Doc. 53,
19   Ex. I; Doc. 80 ¶ 35.) In response, Plaintiff’s counsel inquired “[o]n what grounds is
20   special dispensation denied? Websites aren’t copyrighted usually until they are mature.
21   Therefore, this policy excludes almost every conceivable website that is nontrivial from
22   being copyrighted.” (Doc. 53, Ex. J; Doc. 80 ¶ 36.)
23          On November 16, 2016, before the copyright office responded to Plaintiff’s
24   inquiry about the denial of its request for a special dispensation, Plaintiff submitted to the
25   copyright office an affidavit from one of its principals, Aaron Hagen. (Doc. 53, Exs. K,
26   L; Doc. 80 ¶ 38; Doc. 72, Ex. A at 4.) The Hagen affidavit stated that “SPSO first
27   published the Platform on or about July 3, 2014. It was completed on or about June 25,
28   2014.” (Doc. 53, Ex. K at ¶ 4; Doc. 80 ¶ 38.) The Hagen affidavit further stated that


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 1   “[t]he sample of the Platform provided to the United States Copyright Office with
 2   SPSO’s Copyright application in 2015 is the same as the website first appeared when
 3   published on July 3, 2014.” (Doc. 53, Ex. K at ¶ 5; Doc. 80 ¶ 39.) In an accompanying
 4   email, Plaintiff’s counsel confirmed that “[t]he Deposit that was submitted correctly
 5   represents the copy that was first published on July 3, 2014. Counsel did not have
 6   sufficient facts at the time of application.” (Doc. 53, Ex. L; Doc. 80 ¶ 40.)
 7          On November 17, 2016, a supervisor at the copyright office contacted Plaintiff’s
 8   counsel, stating “[t]he signed affidavit that you provided states that the website was
 9   completed on June 25, 2014 and published on July 3, 2014. The original application lists
10   the Year of Completion as 2015 and the date of first publication as August 36 [sic], 2015.
11   Please confirm that we should update the information on your original application with
12   that which is provided in the [affidavit]. Please do note that the copyright notice on the
13   bottom of each webpage submitted as deposit material bears the year 2015.” (Doc. 53,
14   Ex. Q at 1-2; Doc. 80 ¶ 41.) Plaintiff’s counsel responded, “[y]es the information should
15   be updated as per the affidavit.” (Doc. 53, Ex. Q at 2; Doc. 80 ¶ 41.)
16          On November 17, 2016, Plaintiff also informed the copyright office that its
17   copyright claim was for “the photographs and computer code related to the photographs
18   that enabled the latter to present a 360 degree view of the product to a prospective
19   customer. The Hagens also provided text descriptions of the products. That is the extent
20   of the claim.” (Doc. 53, Ex. Q; Doc. 80 ¶ 42.) Plaintiff explained that “[m]uch of the
21   website code is licensed from a third party (i.e. BigCommerce) and SPSO obviously
22   makes no claims with respect to that.” (Doc. 53, Ex. Q; Doc. 80 ¶ 42.) A few days later,
23   Plaintiff advised the copyright office that it was “no longer interested in registering the
24   code . . . .” (Doc. 53, Ex. CC; Doc. 80 ¶ 43.) Plaintiff specified that it was “interested in
25   registering the website as is with the current deposit and the modifications to the
26   application already agreed to.” (Doc. 53, Ex. CC; Doc. 80 ¶ 43.)
27          On November 29, 2016, the copyright office issued a certificate of registration.
28   (Doc. 50, Ex. 1; Doc. 80 ¶ 44.) The certificate of registration identifies the year of


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 1   completion as 2014, the date of first publication as July 3, 2014, and the authors of the
 2   text and photographs as Aaron Hagen and David Hagen. (Doc. 50, Ex. 1.) It identifies
 3   the title of the Work as the SPSO Website www.poolandspapartsnow.com. (Id.) Under
 4   the heading “limitation of copyright claim,” the certificate of registration lists “new
 5   material included in the claim” as “text, photographs.” (Id.)
 6          C.     The Court’s Inquiry to the Copyright Office
 7          In their first cross-motions for summary judgment on Count One of the FAC, the
 8   parties disputed whether Plaintiff had properly registered its copyright and met the
 9   registration precondition for filing a copyright infringement suit. (Doc. 45 at 7; Doc. 49
10   at 2; Doc. 64 at 12-13; see also 17 U.S.C. § 411(a) (“no action for infringement of the
11   copyright in any United States work may be instituted until registration of the copyright
12   has been made in accordance with this title.”).)        The Court found that Plaintiff’s
13   copyright registration was effective September 16, 2015, one day before Plaintiff filed its
14   original complaint on September 17, 2015. (Doc. 64 at 12-13.)
15          Defendants, however, argued that Plaintiff knowingly provided false information
16   to the copyright office about the date of first publication and the contents of the deposit
17   that it submitted to the copyright office. (Id. at 13; Doc. 53 at 2) Therefore, the Court
18   also considered whether the registration should be considered invalid under 17 U.S.C.
19   § 411(b). (Doc. 64 at 14-25.) The Court concluded that it was undisputed that the
20   deposit did not match Plaintiff’s copyright claim and that Plaintiff knew of the
21   discrepancies, but nonetheless represented to the copyright office in the Hagen affidavit
22   that the deposit (defined as the sample of the Platform provided to the copyright office in
23   September 2015), was the same as the website appeared on July 3, 2014. (Id. at 18, 24.)
24   The Court found that the statutory criteria for mandatory referral to the copyright office
25   had been satisfied because the deposit did not match the material claimed in the
26   application and Plaintiff did not argue that it unknowingly provided false information, but
27   instead argued that the inclusion of additional material in the deposit was immaterial. The
28   Court stated that:


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 1          It is undisputed that the [d]eposit material did not match the material
            claimed in [Plaintiff’s] copyright application. The application was to
 2          register content (photographs and text) on the website as of the date of
            publication specified during the registration process, July 3, 2014, but
 3          Plaintiff deposited the content that appeared on the website on a later date.
            Plaintiff, however, represented to the copyright office that the [d]eposit was
 4          the same as the website appeared on July 3, 2014. Plaintiff does not argue
            that it unknowingly provided false information to the copyright office.
 5          Instead, Plaintiff argues that its inclusion of additional material in the
            [d]eposit is “of no moment.”
 6
 7   (Id. at 24.) Although Plaintiff argued that the inaccuracies in the information it presented
 8   to the copyright officer were “of no moment,” or in other words, immaterial, the Court
 9   found that the statutory referral procedures of 17 U.S.C. § 411(b)(2) applied and required
10   the Court to ask the Register of Copyrights if it considered the inaccurate information
11   material to its decision to register the copyright. (Id. at 24-25.)
12          Therefore, on June 27, 2017, the Court sent a request for the advice of the Register
13   of Copyrights on the following question:
14          1.     If the Register of Copyrights had known that the Deposit underlying
            Registration Number TX 8-268-803 does not depict the content that existed
15          on the SPSO website www.poolandspaparts.now on July 3, 2014, which is
            the date of publication identified on the certificate of registration, but
16          instead depicts a version of the website that includes copyrightable content
            that was added to the website at a later date, would the Register of
17          Copyrights have refused to issue a registration with a July 3, 2014
            publication date?
18
19   (Doc. 67.)
20          On September 5, 2017, the Register of Copyrights responded to the Court’s
21   inquiry and stated that it would have refused registration of Plaintiff’s copyright with a
22   July 3, 2014 publication date had it known that the submitted website included
23   copyrightable content that was added after July 3, 2014.5 (Doc. 72-1 at 8.) The Register
24
            5
               The Register assumed, based on the Court’s question, that the content added to
25   the website after July 3, 2014 was copyrightable. (Doc. 72-1 at 8, n.43; Doc. 67.)
     Plaintiff moved for reconsideration of the Court’s question to the Register, but did not
26   object to the reference to “copyrightable content.” (Doc. 68.) The Register’s assumption
     is correct because the content added to the website after July 3, 2014 included
27   photographs,   which Plaintiff admits are copyrightable. (Doc. 80 ¶¶ 5, 6, 20; Doc. 82
     ¶¶ 5, 6, 20.5) Furthermore, Plaintiff admits that the website submitted to the copyright
28   office includes additional copyrightable content added after July 3, 2014. (Doc. 80 ¶ 18;
     Doc. 82 ¶ 18.)

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 1   of Copyrights further stated that it “would have demanded a copy of the deposit as
 2   published on July 3, 2014 . . . .”6      (Id.)   The Register of Copyrights stated that,
 3   alternatively, it would have “asked Plaintiff to limit its claim to material published on
 4   August 26, 2015, and to revert back to the 2015 year of completion, and the August 26,
 5   2015 date of publication, for the original application.” (Id.) If Plaintiff had “refused to
 6   limit the claim and revert back to the August 26, 2015 date of first publication and 2015
 7   year of completion, the Acting Register would have refused registration.”7 (Id.)
 8          After receiving the Register of Copyrights’ response, the Court permitted the
 9   parties to file second motions for summary judgment on Plaintiff’s copyright
10   infringement claim asserted in Count One of the FAC. (Doc. 73.) The Court directed the
11   parties to address how the Register of Copyrights’ response to the Court’s inquiry
12   affected Plaintiff’s copyright claim, including whether Plaintiff satisfied the registration
13   precondition for bringing a civil action for copyright infringement. (Id. at 2.)
14   II.    Summary Judgment Standard
15          A party seeking summary judgment “bears the initial responsibility of informing
16   the district court of the basis for its motion, and identifying those portions of [the record]
17   which it believes demonstrate the absence of a genuine issue of material fact.” Celotex
18   Corp. v. Catrett, 477 U.S. 317, 323 (1986). Summary judgment is appropriate if the
19   evidence, viewed in the light most favorable to the nonmoving party, shows “that there is
20   no genuine dispute as to any material fact and that the movant is entitled to judgment as a
21
22          6
                Plaintiff’s prior correspondence with the copyright office indicated that it did
     not have a copy of the website as it existed in July 2014. (See Doc. 53, Ex. H (October 6,
23   2016 email to the copyright office from Plaintiff’s counsel stating that some of the
     Deposit’s content “may have been from an earlier version of the website BUT we need
24   special dispensation because this is the first time registration of the website and no copy
     (i.e., mirror or backup) of the prior website exists.”).) Based on this evidence, Plaintiff
25   would have been unable to “provide a copy of the work as published on July 3, 2014.”
     (Doc. 72-1 at 8.) Therefore, the Court concludes that the Register of Copyrights would
26   have refused registration with the July 3, 2014 publication date.
27          7
                If Plaintiff had limited its claim to material published on August 26, 2015, a
     certificate of registration based on that date could not support Plaintiff’s copyright
28   infringement claim that is based on an alleged infringement that occurred in 2014. (See
     Doc. 79 at 13-14.)

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 1   matter of law.” Fed. R. Civ. P. 56(a). Only disputes over facts that might affect the
 2   outcome of the suit will preclude the entry of summary judgment, and the disputed
 3   evidence must be “such that a reasonable jury could return a verdict for the nonmoving
 4   party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
 5          The nonmoving party may not rely on the mere allegations in the pleadings, but
 6   must set forth by affidavit, or other appropriate evidence, specific facts showing there is a
 7   genuine issue for trial. Id. at 249. The nonmoving party must produce at least some
 8   “significant probative evidence tending to support” its position. Smolen v. Deloitte,
 9   Haskins, & Sells, 921 F.2d 959, 963 (9th Cir. 1990). The issue is not whether the
10   “‘evidence unmistakably favors one side or the other but whether a fair-minded jury
11   could return a verdict for the [nonmoving party] on the evidence presented.’” United
12   States ex rel. Anderson v. N. Telecom, Inc., 52 F.3d 810, 815 (9th Cir. 1995) (quoting
13   Liberty Lobby, 477 U.S. at 252). “If a moving party fails to carry its initial burden of
14   production, the nonmoving party has no obligation to produce anything, even if the
15   nonmoving party would have the ultimate burden of persuasion at trial.” Nissan Fire &
16   Marine Ins. Co. v. Fritz Cos., 210 F.3d 1099, 1102-03 (9th Cir. 2000). The Court
17   considers the motion for summary judgment under this standard.
18   III.   Plaintiff’s Copyright Infringement Claim
19          Plaintiff alleges that Defendants committed copyright infringement by “willfully
20   and unlawfully reproduc[ing], publicly display[ing], and creat[ing] derivative versions of
21   copyrighted elements of the Platform verbatim.” (Doc. 39 at ¶ 38.) In its second motion
22   for summary judgment, Plaintiff argues that it is entitled to summary judgment on this
23   claim because it satisfied the procedural requirements of 17 U.S.C. § 411(a) and
24   Defendants admitted to reproducing and distributing SPSO’s Platform. (Doc. 78 at 8.)
25   Defendants seek summary judgment on Plaintiff’s copyright infringement claim on the
26   ground that Plaintiff did not satisfy the copyright registration precondition to bringing a
27   copyright infringement action. (Doc. 79 at 1.)
28


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 1          A.      The Copyright Act
 2          Copyright protection applies to “original works of authorship fixed in any tangible
 3   medium of expression.” 17 U.S.C. § 102(a). A copyright, as a right, “subsists from its
 4   creation . . . .” See 17 U.S.C. § 302(a).   “Under the Copyright Act, copyright protection
 5   provides an owner with exclusive rights to reproduce the copyrighted work, to prepare
 6   derivative works from the copyrighted work, to distribute copies of the copyrighted work,
 7   and to perform or display the copyrighted work.” 17 U.S.C. § 106. Anyone who violates
 8   any of those exclusive rights is an infringer of the copyright of the author, and the legal or
 9   beneficial owner of the exclusive right is entitled to sue for infringement under
10   17 U.S.C. § 501(a)-(b).
11          To establish a prima facie case of copyright infringement, a plaintiff must prove
12   (1) ownership of a valid copyright, and (2) that the alleged infringer violated at least one
13   of the exclusive rights granted under § 106. See A & M Records, Inc. v. Napster, Inc.,
14   239 F.3d 1004, 1013 (9th Cir. 2001). Copyright “registration [is also] an element of an
15   infringement claim.” Unicolors, Inc. v. Urban Outfitters, Inc., 853 F.3d 980, 988 (9th
16   Cir. 2017) (citing Cosmetic Ideas, Inc. v. IAC/Interactivecorp., 606 F.3d 612, 615 (9th
17   Cir. 2010)).
18                  1.    Registration of Website Content
19          “A website in and of itself is not explicitly recognized as copyrightable subject
20   matter.” COMPENDIUM (THIRD), Glossary, §1006.8 Rather “[a] website is merely a
21   medium of fixation for works of original authorship . . . it is a vehicle for the
22   dissemination of content, which may or may not be copyrightable.” Id. “[I]t is the
23   content of the website—not the medium of expression—that comprises the copyrightable
24   authorship that may be registered with the U.S. Copyright Office.”             Id. However,
25   “[w]ebsites are somewhat unique as vehicles for the dissemination of content. Unlike a
26   tangible object, such as a printed magazine or a roll of film, websites are not static
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               When interpreting the Copyright Act, the Court defers to the copyright office’s
28   interpretations, such as the Compendium, in the appropriate circumstances. Alaska Stock,
     LLC v. Houghton Mifflin Harcourt Publ’g Co., 747 F.3d 673, 684 (9th Cir. 2014).

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 1   containers for content. They are dynamic containers that may change over time as often
 2   and to the extent that the website owners wish.” Id. “Although websites are dynamic,
 3   copyright protection in the United States extends only to fixed works of authorship that
 4   fall under the categories provided in . . . the Copyright Act.” Thus, the copyright office
 5   “will register a claim in website content only as it exists at the time the application is
 6   received.” Id.
 7          Therefore, “a registration for website content does not extend to any unclaimable
 8   materials that may be contained within that content. . . . [and] unclaimable material
 9   includes material that . . . was previously published or registered.” Id. at § 1008.2; see
10   also § 1009.8 (“[a] registration for a website or website content does not cover any
11   materials that has been previously published . . .”).          “If the deposit contains an
12   appreciable amount of previously published . . . material, the applicant must expressly
13   exclude that material from the claim.” Id. at § 1008.2 “Asserting a claim in previously
14   published material is one of the most common mistakes that applicants make when
15   completing an application to register website content.” Id.
16          As the copyright office advised Plaintiff, if website “content has been published,
17   the applicant may register all of the copyrightable material that was first published on the
18   date of publication specified in the application. If the content contains copyrightable
19   materials that was published before that date, the application must exclude that
20   previously published material from the claim.” Id. at § 1008.6(A). “[T]he deposit should
21   contain a copy of the content as it existed on the date of publication that is specified in
22   the application. Id.; see also § 1010.5 (“[t]o register material from the initial version or
23   any subsequent version of a published website, the applicant must deposit an acceptable
24   copy . . . of the specific version that the applicant intends to register and the applicant
25   must provide the correct date of first publication for that version.”).
26                 2.     Registration Precondition to Filing Infringement Action
27          Upon application, a copyright claim may be registered with the copyright office if
28   it is determined that the work “constitutes copyrightable subject matter” under the Act.


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 1   17 U.S.C. §§ 408, 410. Copyright registration serves as a public record of the authorship
 2   and ownership of the claimed work. Brownstein v. Lindsey, 742 F.3d 55, 66 (3d Cir.
 3   2014).       Copyright registration is not required for copyright protection and is not
 4   jurisdictional. See 17 U.S.C. § 408(a); Cosmetic Ideas, 606 F.3d at 614-15 (citing Reed
 5   Elsevier, Inc., v. Muchnick, 559 U.S. 154 (2010)). However, “[c]opyright registration is a
 6   precondition to filing a copyright infringement action.”          L.A. Printex Indus. Inc. v.
 7   Aeropostale, Inc. 676 F.3d 841, 852-53 (9th Cir. 2012), as amended (June 13, 2012);
 8   Cosmetic Ideas, Inc., 606 F.3d at 614-15 (stating that “registration is required for U.S.
 9   works prior to bringing any infringement action.”); 17 U.S.C. § 411(a) (providing that
10   “no action for infringement of the copyright in any United States work may be instituted
11   until registration of the copyright has been made in accordance with this title.”).9
12            The Ninth Circuit has held that the copyright office’s receipt of a completed
13   application is sufficient for purposes of initiating copyright infringement litigation, and
14   that the processes of copyright registration and an infringement case can proceed
15   concurrently. Cosmetic Ideas, Inc., 606 F.3d at 619-21. After a copyright registration
16   certificate is issued, it dates back to the date of the application and the certificate includes
17   the effective date of the registration. 17 U.S.C. § 401(a), (d). Section 411(a) provides
18   that rejection of a registration application does not bar a civil suit, if the copyright office
19
              9
              The Ninth Circuit further explained why registration is a precondition to filing a
20   copyright infringement action, even though registration is not required for copyright
     protection:
21
              Although registration was made optional [in the 1976 amendments to the
22            copyright act], Congress still valued having a robust federal register of
              existing copyrights. To this end, it chose to encourage copyright holders to
23            register with the Office of Copyright through various statutory incentives.
              For instances, if a copyright holder secures a registration certificate within
24            five years after first publication, such certificate will constitute prima facie
              evidence of both the validity of the copyright and the facts stated in the
25            certificate. Moreover certain remedies, such as statutory damages and
              attorney’s fees, are available only after registration. Finally, registration is
26            required for U.S. works prior to bringing an infringement action. Indeed,
              because registration is not mandatory under the Act, copyright holders
27            frequently register specifically for the purpose of being able to bring suit.
28
     Cosmetic Ideas, Inc., 606 F.3d at 619 (internal citations omitted).

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 1   has been notified of the litigation and served with a copy of the complaint. 17 U.S.C.
 2   § 411(a) (permitting an applicant to bring an infringement action after the register has
 3   rejected the applicant’s registration if the register is notified of the suit and served with
 4   the complaint)). The copyright office may become a party to the suit, but it is the court’s
 5   responsibility to determine the validity of a plaintiff’s copyright claim.        17 U.S.C.
 6   § 411(a).
 7                 3.         Invalidation of Copyright Registration
 8          “To prevent plaintiffs from abusing the registration process . . . , the Copyright Act
 9   allows for the invalidation of registrations obtained by knowing misrepresentations of
10   material facts.” Delivermed Holdings, LLC v. Schaltenbrand, 734 F.3d 616 (7th Cir.
11   2013) (citing 17 U.S.C. § 411(b)(1)(A)-(B)).         In 2008, as part of the Prioritizing
12   Resources and Organization for Intellectual Property Act (the “2008 PRO IP Act”),
13   Congress codified a court-made standard for invalidating a copyright registration. See
14   Lennar Homes of Texas Sales and Mktg. v. Perry Homes, LLC, 117 F. Supp. 3d 913,
15   (S.D. Texas 2015) (discussing the Fifth Circuit’s standard for finding a copyright
16   registration invalid).
17          Under the amended statute, a certificate of registration is sufficient to bring a
18   copyright infringement action “regardless of whether the certificate contains inaccurate
19   information,” unless the following conditions are met: (A) “the inaccurate information
20   was included on the application for copyright registration with knowledge that it was
21   inaccurate,” and (B) “the inaccuracy of the information, if known, would have caused the
22   Register of Copyrights to refuse registration.” 17 U.S.C. § 411(b)(1)(A) and (B); see L.A.
23   Printex, 676 F.3d at 853.
24          The 2008 PRO IP Act amended § 411 to include § 411(b)(2), which requires
25   courts to seek the advice of the Register of Copyrights before finding that a certificate of
26   registration does not support an infringement action. See DeliverMed Holdings, 734 F.3d
27   at 623 (stating that “[i]nstead of relying solely on the court’s own assessment of the
28   Register’s response to an inaccuracy, the statute obligates courts to obtain an opinion


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 1   from the Register on the matter.”); Palmer/Kane LLC v. Rosen Book Works LLC, 2016
 2   WL 3042895, at *1 (S.D.N.Y. May 27, 2016) (“[C]ourts are in agreement that the
 3   provision is mandatory in nature . . . .”). In other words, before finding that knowingly
 4   inaccurate information would have caused the Register of Copyrights to refuse
 5   registration, a court must ask the Register whether that would have been the case.
 6           B.      Sufficiency of Plaintiff’s Copyright Registration
 7           In its analysis of the parties’ second cross-motions for summary judgment, the
 8   Court first considers whether Plaintiff’s copyright registration supports its copyright
 9   infringement claim asserted in Count One. The Court has previously concluded that for
10   purposes of its infringement claim, the relevant copyrighted content is the “text and
11   photographs” that appear on Plaintiff’s website www.poolandspapartsnow.com. (Doc. 64
12   at 11-12; Doc. 78 at 12.) Defendants argue that Plaintiff’s copyright infringement claim
13   fails because Plaintiff did not satisfy the registration precondition for filing a claim for
14   copyright infringement (Doc. 79 at 4), and Plaintiff disputes that assertion. (Doc. 78.)
15   As discussed below, the Court concludes that Plaintiff did not satisfy the registration
16   precondition because the registration is invalid under § 411(b).
17           The record reflects that Plaintiff’s application for registration of copyright was
18   dated        September   13,    2015,     for    a    work     titled    “SPSO       Website
19   www.poolandspapartsnow.com,” and that the copyright office received the application on
20   September 15, 2015. (Doc. 50, Ex. 9; Doc. 53, Ex. B.) The copyright office eventually
21   issued a certificate of registration for “text, photographs,” with September 16, 2015 as the
22   effective date of registration. (Doc. 50, Ex. 1.) After a certificate of registration of
23   copyright is issued, the registration dates back to the date of application. Cosmetic Ideas,
24   606 F.3d at 616 (citing 17 U.S.C. § 410(d) (concluding that plaintiff satisfied the
25   registration requirement when plaintiff submitted an application for registration of
26   copyright before it filed suit and the copyright office subsequently issued a registration
27   certificate)). Thus, the registration was effective September 16, 2015, before Plaintiff
28   filed the original complaint. However, the Court finds that registration is not sufficient to


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 1   support Plaintiff’s copyright infringement claim under the two-part test of 17 U.S.C.
 2   § 411(b), as set forth below.
 3                  1.     The Copyright Application Included Inaccurate Information
 4            As discussed in detail in the June 2017 Order, the copyright application, which
 5   includes the correspondence between Plaintiff and the copyright office, included
 6   inaccurate information that was incorporated into the copyright registration. (Doc. 64 at
 7   17-25.) The inaccurate information is the July 3, 2014 publication date for the deposit,
 8   which included the text and photographs at issue in the copyright infringement claim.
 9   (Id. at 24; Doc. 78 at 10; 78-1 ¶ 39.) Deposit material for website content must contain
10   “the copyrightable material that is claimed in the application,” and “the deposit should
11   contain a copy of the content as it existed on the date of publication that is specified in
12   the application.”     (Doc. 72-1 at 6 (quoting COMPENDIUM (THIRD) §§ 1010.1 and
13   1008.6(A)).
14            For registration of website content that has been revised after the date of first
15   publication, the copyright application should include the “month, day, and year that the
16   revised content was first posted on that site.” (Doc. 72-1 at 6 (quoting COMPENDIUM
17   (THIRD) § 1009.4(A)(2)).)       As the copyright office advised Plaintiff during the
18   registration process, registration of a revised version of a website covers only the new or
19   revised material added. (Doc. 53, Ex G. p.2.) “[I]t is the responsibility of the applicant
20   to determine whether a work has been published prior to an application and to make this
21   determination based on the applicable terms of the Copyright Act.” Gold Value Int’l
22   Textile, Inc. v. Sanctuary Clothing, LLC, 2017 WL 2903180, at *9 (C.D. Cal. Mar. 24,
23   2017).
24            As explained in the Court’s June 2017 Order, the July 3, 2014 publication date is
25   inaccurate because “[i]t is undisputed that the [d]eposit material did not match the
26   material claimed in the application. The application was to register content (photographs
27   and text) on the website as of the date of publication specified during the registration
28   process, July 3, 2014, but Plaintiff deposited the content that appeared on the website on


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 1   a later date. Plaintiff, however, represented to the copyright office that the deposit was
 2   the same as the website appeared on July 3, 2014.” (Doc. 64 at 24.) The additional
 3   content includes, in part, photographs of Nemo products added on October 14, 2014,
 4   including entire webpages displaying the Nemo products. (Doc. 80 at ¶¶ 1-5.)
 5          Plaintiff admits that the website submitted to the Copyright Office included
 6   additional copyrightable content added after July 3, 2014. (Id. at ¶ 18 (citing Doc. 68 at
 7   3, 5; Doc. 56 at 6).) Plaintiff does not dispute Defendants’ assertion, and the Court’s
 8   finding in the June 2017 Order, that photographs of Nemo products were added to
 9   Plaintiff’s website after July 3, 2014, the date Plaintiff represented as the publication date
10   for the deposit submitted to the copyright office. (See Doc. 64 at 20-24.)
11          Instead, Plaintiff previously argued that “the deposit copy submitted by SPSO . . .
12   was the best available copy of the Work as it subsisted on the Publication Date, July 3,
13   2014,” and stated that “[t]he fact that there is additional information contained on the
14   Deposit is of no moment.” (Doc. 56 at 6 (emphasis added).) Plaintiff also attempted to
15   minimize any inaccurate statements in the Hagen affidavit by stating that when Hagen
16   said the sample Platform submitted as the deposit with Plaintiff’s copyright registration
17   was the “‘same as the website appeared when published on July 3, 2014,’ he [was]
18   referring to what is claimed on the registration, namely ‘text, photographs.’” (Id. at 9.)
19   “He is not referring to additional information that may have been contained in the
20   medium (i.e. the website). As far as what is claimed in the Registration, the ‘text and
21   photographs’ are the same or essentially the same as in the Deposit as they existed on
22   July 3, 2014.” (Id. (emphasis by italics and bold text in original).)
23          Plaintiff now asserts that the deposit is not required to match the “medium in
24   which it is contained,” and therefore Defendants’ arguments that there is “other material
25   in the medium is rendered moot.” (Doc. 90 at 9; see also Doc. 81 at 7 (asserting that the
26   medium and the Work are not required to match and stating “there may have been
27   additional copyrightable subject matter on the medium that Plaintiff elected not to claim
28   in its registration.”).) Plaintiff specifically refers to “[N]emo products” in this argument.


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 1   (Doc. 90. at 9-10.) Thus, throughout the briefing on several motions in this case, Plaintiff
 2   has admitted that the photographs of Nemo products were added to the SPSO website
 3   after July 3, 2014, and were included in the deposit submitted to the copyright office in
 4   September 2015.
 5          Plaintiff’s argument that the SPSO website is only the medium for copyrightable
 6   material, and the copyrighted material is limited to certain content on that website,
 7   specifically photographs and text, does not establish that the photographs of Nemo
 8   products added to the website after the asserted July 3, 2014 publication date are “moot.”
 9   Plaintiff does not explain how these photographs, and the text describing these products,
10   are simply part of the website medium, and not part of its content and not part of the
11   unspecified “photographs, text” listed on the registration.
12          Furthermore, Defendants submitted evidence indicating that they had identified
13   photographs of the Nemo products that were added to Plaintiff’s website after July 3,
14   2014 by using the Internet Archive to capture pages of Plaintiff’s website as it existed in
15   July 2014 and in the deposit. (Doc. 80 at §§ 1-5; Doc. 53, Exs. M-1, M-2, M3, N-1, N-2,
16   N-3, N-4, FF.) Plaintiff does not dispute this evidence, but instead asserts that this
17   evidence is “irrelevant” because it did not register a website and “the Nemo products are
18   not part of what was registered with the USCO and not part of what Plaintiff claims was
19   infringed.” (Doc. 82 at ¶¶ 1-5.) Thus, it appears that Plaintiff may be arguing that
20   although the deposit included photographs added to the SPSO website after July 3, 2014,
21   the asserted publication date, it did not intend to register these photographs, or assert
22   copyright infringement based on the copying of these photographs and, therefore, the
23   additional content in the deposit is immaterial.
24          This argument, however, ignores the significance of the addition of new
25   copyrightable content to the website. As previously discussed, the Register of Copyrights
26   would have refused registration of Plaintiff’s copyright with a July 3, 2014 publication
27   date had it known that the submitted website included copyrightable content added after
28   July 3, 2014. (Doc. 72-1 at 8.) Thus, the addition of new copyrightable content on the


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 1   website is significant in determining the publication date. (See Doc. 64 at 23 (citing
 2   COMPENDIUM (THIRD) at §§ 1008.5, 1008.6).)             Because the registration includes
 3   inaccurate information, the Court considers whether “the inaccurate information was
 4   included on the application   . . . with knowledge that it was inaccurate.” 17 U.S.C.
 5   § 411(b)(1)(A).
 6                  2.    Plaintiff Knowingly Included the Inaccurate Information
 7          Under § 411(b), a certificate of registration that contains inaccurate information is
 8   insufficient to bring a copyright infringement suit when the registrant knowingly included
 9   the inaccurate information, and “the inaccuracy of the information, if known, would have
10   caused the Register of Copyrights to refuse registration.” 17 U.S.C. § 411(b)(1)(A) and
11   (B); see Unicolors, 853 F.3d at 991 (stating that a registration error bars an infringement
12   action if “the inaccurate information was included on the application . . . with knowledge
13   that it was inaccurate” and the inaccuracy, “if known, would have caused the Register of
14   Copyrights to refuse registration.”) (internal quotation marks and citation omitted);
15   Schenck v. Orosz, 105 F. Supp. 3d 812, (M.D. Tenn. 2015) (stating that “a plaintiff
16   cannot maintain a copyright infringement action premised on a registered copyright if the
17   plaintiff both (1) included inaccurate information on a registration application and (2) the
18   Copyright Office would have refused registration had the inaccurate information not been
19   included.”).
20          In its June 2017 Order, the Court found that Plaintiff had not “argue[d] that it
21   unknowingly provided false information to the copyright office.”          (Doc. 64 at 24.)
22   Plaintiff does not dispute that finding. (Doc. 80 ¶ 27; Doc. 82 ¶ 27.)10 Rather, Plaintiff
23   argues that § 411(b) does not apply because it did not make fraudulent statements to the
24   copyright office. (Doc. 81 at 14-16; Doc. 90 at 3-5, 6-8.) Plaintiff argues that § 411(b)
25
            10
                Plaintiff objects to this statement as irrelevant on the ground that “Plaintiff’s
26   communications with the USCO . . . [have] been fully litigated.” (Doc. 82 ¶¶ 9, 27.)
     Plaintiff also asserts that this issue is beyond the scope of the Court’s order permitting
27   second motions for summary judgment. (Id. at ¶ 9.) The Court agrees that the issue of
     Plaintiff’s communications with the copyright office was addressed in the June 2017
28   Order. (Doc. 64.) However, those communications continue to be relevant to the
     resolution of Plaintiff’s copyright infringement claim. See § 411(b)(1).

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 1   requires a showing of fraudulent misrepresentation under state law. (Doc. 90 at 2-3, n.1
 2   (citing Neilson v. Flashberg, 419 P.2d 514, 517-18 (Ariz. 1966).) Plaintiff further argues
 3   that § 411(b) requires that the party challenging whether the registration satisfies the
 4   registration precondition to filing suit must “meet the heightened pleading standards” for
 5   fraud in Rule 9(b) of the Federal Rules of Civil Procedure. (Doc. 90 at 3-4.) Plaintiff
 6   asserts that its counsel made only “inadvertent technical errors during the registration
 7   process.” (Id. at 5.)
 8          “[I]nadvertent mistakes on a registration certificate do not invalidate a copyright
 9   and thus do not bar infringement actions, unless the alleged infringer has relied to its
10   detriment on the mistake or the claimant intended to defraud the Copyright Office by
11   making the misstatement.” Urantia Found. v. Maaherra, 114 F.3d 955, 963 (9th Cir.
12   1997). However, the Ninth Circuit has found that “a showing of fraud is not required
13   when the inaccurate information was knowingly included on the application, as opposed
14   to being an inadvertent mistake.” Gold Value Int’l Textile, Inc. v. Sanctuary Clothing,
15   LLC, 2017 WL 2903180, at *10 ) (C.D. Cal. Mar. 24, 2017) (citing L.A. Printex Indus.,
16   Inc., 676 F.3d at 854; see also Palmer/Kane LLC v. Gareth Stevens Pub’g, 2016 WL
17   6238612, at *4 (S.D.N.Y. Oct. 24, 2016) (“To the extent that Plaintiff argues that the
18   statute requires a showing of ‘fraudulent intent’ separate and apart from a showing of
19   knowing inaccuracy, the Court agrees with Judge Rakoff and declines to graft this
20   additional requirement onto the plain statutory text.”). The Court, therefore, concludes
21   that it is not necessary to show fraud on the copyright office for § 411(b)(1)(A) and (B) to
22   apply, and rejects Plaintiff’s contrary argument. See L.A. Printex, 673 F.3d at 852-53.
23          Plaintiff also now argues that it has “never wavered” in its assertion of July 3,
24   2014 as the first publication date because it alleged in its complaint, filed September 17,
25   2015, that the Platform was first published in July 2014, and it submitted the Hagen
26   affidavit to the copyright office on November 14, 2016 and stated that the Platform was
27   first published on July 3, 2014. (Doc. 78 at 6; Doc. 81 at 3.) Plaintiff asserts that “[t]he
28   fact that Plaintiff’s counsel made a mistake as to the publication date in the registration


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 1   process in neither material, relevant, nor dispositive.” (Doc. 81 at 3-4.) Thus, Plaintiff
 2   attempts to minimize the significance of its registration application, which listed the first
 3   publication date as August 26, 2015.
 4          This argument, however, ignores the record of Plaintiff’s communications with the
 5   copyright office in which counsel stated, in response to the copyright office’s inquiry
 6   whether the content of the deposit included material from an earlier version of the
 7   website, that some of the deposit “may have been from an earlier version of the website
 8   BUT we need special dispensation because this is the first time registration of the website
 9   and no copy (i.e. mirror or backup) of the prior website exists.” (Doc. 53, Ex. H, Doc. 80
10   ¶ 4.) Plaintiff has never contradicted those statements or claimed that it has a copy of the
11   website content as it was published in July 2014.
12          Furthermore, the declarations Plaintiff submitted with the briefing on the various
13   motions for summary judgment further establish that Plaintiff did not have a copy of the
14   website as it was published in July 2014. Plaintiff’s counsel submitted a declaration
15   stating that the “‘mirror copy’ of the SPSO website was created on or about August 26,
16   2015.” (Doc. 56, Ex. D at ¶ 2.) The director of operations for the law firm of Plaintiff’s
17   counsel, Martin Gwynn, also submitted a declaration stating that he made the deposit
18   copy of the SPSO website to be sent to the copyright office for copyright registration on
19   or about September 13, 2015. (Doc. 78-1, Ex. 9.) Mr. Gwynn also states that on
20   September 7, 2017, he began using Internet Archives to capture screen shots of the SPSO
21   website as it appeared on or before July 3, 2014.11 (Id. at ¶ 6.)
22
23
            11
               Importantly, Plaintiff did not obtain screen shots of the SPSO website as it
24   appeared in July 2014 as part of its copyright registration application in September 2015.
     Instead, Plaintiff waited for two years and until after the Court entered its June 2017
25   Order, and until after the Register of Copyrights responded to the Court’s inquiry, before
     it began to search for this information. Plaintiff now apparently suggests that these
26   screen shots establish that the SPSO website, as it was published on July 3, 2014, was the
     same as the copy of the website submitted as the deposit with the copyright application.
27   (Doc. 78 at 7.) However, Mr. Gwynn’s declaration discusses comparisons of
     representative categories of photographs and text on the SPSO website in 2014 and 2015,
28   and the WFUP website, but he does not state that the SPSO website in 2014 was the same
     as the SPSO website in 2015, as submitted to the copyright office. (Doc. 78-1, Ex. 9.)

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 1          Additionally, Plaintiff submitted the Hagen affidavit to the copyright office on
 2   November 14, 2016, which was after Defendants had filed their first motion for summary
 3   judgment and their motion for an order for Plaintiff to cancel or amend its copyright
 4   registration. (Doc. 53, Ex. K.) In that declaration, Hagen states that “[t]he sample of the
 5   Platform provided to the United States Copyright Office with SPSO’s Copyright
 6   application in 2015 is the same as the website first appeared when published on July 3,
 7   2014. (Id. at ¶ 4)(emphasis added). In the same declaration, Hagen described the
 8   Platform as “a compilation of programs, representations, originally authored works,
 9   writings, hundreds of photographs taken by myself and my brother, as well as computer
10   architecture and design.” (Id. at ¶ 3.) The Hagen declaration did not state that certain
11   photographs and text in the deposit were the same as photographs and text published on
12   the website in July 2014. Instead, he represented that the copy of the Platform submitted
13   as the deposit, which he defined to include programs, photographs, and computer
14   architecture and design, was the same as the website appeared in July 2014. However, in
15   his deposition taken a few months earlier on August 8, 2016, he testified that the website
16   content was the same, but he had updated the copyrighted code on the website. (Doc. 80,
17   Ex. 3 at 203-04.)
18          Therefore, as discussed in the June 2017 Order, and as confirmed in this Order, the
19   record reflects that Plaintiff knowingly included inaccurate information in the copyright
20   application. (Doc. 64 at 21-24.) As noted in the June 2017 Order, the timing of Hagen’s
21   affidavit indicates that Plaintiff knowingly provided inaccurate information to the
22   copyright office because it was submitted (1) after the copyright office advised Plaintiff
23   that material published on the website before the August 26, 2015 date of first publication
24   would be excluded from the claim, and (2) after Defendants filed a motion for summary
25   judgment arguing that if the copyrightable material was completed and published on
26   August 26, 2015, then Plaintiff’s infringement claim would fail because Defendants’
27   allegedly infringing conduct occurred in 2014. (Doc. 64 at 21-24 (citing Doc. 53 at 4-7).)
28


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 1          The record indicates that after this defect was raised in this litigation, Plaintiff
 2   submitted Hagen’s affidavit to the copyright office to support its claim that the date of
 3   first publication was July 3, 2014, and inaccurately stated that the deposit submitted to
 4   the copyright office was the same as the website appeared on July 3, 2014. (Doc. 51,
 5   Ex. K at ¶ 5; Doc. 53, Ex. L; Doc. 56 at 6 (SPSO admits that the sample platform
 6   provided to the copyright office was not the same as the website appeared on July 3,
 7   2014.).) Evidence in the record shows that Plaintiff changed the content of its website
 8   after July 3, 2014. (Doc. 53, Exs. M-1, M-2, M-3, N-1, N-2, N-3; Doc. 53, Ex. O.)
 9   Further, Plaintiff does not argue that it was unaware that after July 3, 2014 additional
10   copyrightable material was added to the website and was included in the version of the
11   website that Plaintiff submitted to the copyright office. (Doc. 51, Ex. K; Doc. 54, Ex. D;
12   Doc. 80 ¶ 28; Doc. 82 ¶ 28.)
13          Plaintiff admitted to the copyright office that some of the deposit’s content “may
14   have been from an earlier version of the website BUT we need special dispensation
15   because this is the first time registration of the website and no copy (i.e., mirror or
16   backup) of the prior website exists.” (Doc. 80 ¶ 34; Doc. 82 ¶ 34.) This undisputed
17   statement indicates that Plaintiff knew that some content in the deposit “may have been
18   from an earlier version of the website,” but there is no evidence that, during the
19   registration process, Plaintiff investigated to determine the dates on which copyrightable
20   content was added. Rather, Plaintiff requested a “special dispensation,” and, when that
21   was denied, it submitted Hagen’s affidavit to the copyright office declaring that “[t]he
22   sample of the Platform provided to the United States Copyright Office with SPSO’s
23   Copyright application in 2015 is the same as the website first appeared when published
24   on July 3, 2014.” (Doc. 80 at ¶ 39; Doc. 82 at ¶ 39.)
25          Plaintiff had knowledge that the Hagen affidavit, which was part of the copyright
26   application, was inaccurate because Plaintiff either knew that the statement in the
27   affidavit was inaccurate or, had uncertainty regarding the facts, but submitted an affidavit
28   stating those facts with certainty. Therefore, consistent with the June 2017 Order, the


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 1   Court concludes that Plaintiff knowingly included inaccurate information in the
 2   application to the copyright office. (Doc. 64 at 17-25); see 17 U.S.C. § 411(b)(1)(A).
 3                 3.     The Copyright Office Would Have Refused Registration
 4          After concluding that Plaintiff knowingly provided false information to the
 5   copyright office, the Court submitted a request to the Register of Copyrights to advise the
 6   court whether the inaccurate information, if known, would have caused the Register of
 7   Copyrights to refuse registration. (Doc. 64 at 24-25; Doc. 67.) In response, the copyright
 8   office informed the Court that had it known of the inaccuracy, it would have refused the
 9   registration with a July 3, 2014 publication date.12 (Doc. 72-1 at 8.)
10          Pursuant to § 411(b)(1), a plaintiff cannot maintain a copyright infringement claim
11   based on a registered copyright if (1) the plaintiff knowingly included inaccurate
12   information on the copyright registration application, and (2) the Register of Copyrights
13   would have refused the registration had it known of the inaccuracy of the information.
14   Schenck, 105 F. Supp. 3d at 816 (citing 17 U.S.C. § 411(b)(1)). “The knowing failure to
15   advise the Copyright Office of facts which might have occasioned a rejection of the
16   application constitutes reason for holding the registration invalid and thus incapable of
17   supporting an infringement action.” Russ Berrie & Co. v. Jerry Elsner Co., 482 F. Supp.
18   980, 988 (S.D.N.Y. 1980); see also Unicolors, 853 F.3d at 991 (stating that a registration
19   error bars an infringement action if “the inaccurate information was included on the
20   application . . . with knowledge that it was inaccurate” and the inaccuracy, “if known,
21   would have caused the Register of Copyrights to refuse registration.”); Roberts v. Gordy,
22   181 F. Supp. 3d 997, 1010, 1014 (S.D. Fla. Apr. 8, 2016) (concluding that registration
23
24          12
                Plaintiff argues that the copyright office “refused” to change the status of the
     registration. (Doc. 78 at 11; Doc. 81 at 16.) The Court, however, asked the copyright
25   office a specific question under § 411(b)(1), and did not ask the copyright office to cancel
     the registration. (See Doc. 67.) Under § 411(b)(1), the issue is whether “the inaccuracy
26   of the information, if known, would have caused the Register of Copyrights to refuse
     registration.” 17 U.S.C. § 411(b)(1). Nonetheless, whether the copyright office changed
27   the status of the registration is irrelevant to the Court’s determination of the validity of
     the registration to satisfy the registration precondition to filing suit. Therefore, the Court
28   rejects Plaintiff’s argument that because its registration “remains valid . . . the threshold
     procedural requirement of § 411(a) of the Act is met.” (Doc. 78 at 5.)

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 1   was invalid and incapable of supporting an infringement action after receiving response
 2   from the Register of Copyrights that it would have refused registration had it known of
 3   inaccuracies on the application).13
 4          Therefore, the Court concludes that, pursuant to § 411(b)(1), Plaintiff’s certificate
 5   of registration is not sufficient to bring a copyright infringement claim because the
 6   registration application includes inaccurate information, Plaintiff included the inaccurate
 7   information “with knowledge that it was inaccurate,” and “the inaccuracy of the
 8   information, if known, would have caused the Register of Copyrights to refuse
 9   registration” with a July 2014 publication date. See 17 U.S.C. § 411(b)(1). “[T]he failure
10   to properly register a work will preclude an infringement action predicated on that work.”
11   Roberts, 181 F. Supp. 3d 997 at 1014; see Olander Enters., Inc. v. Spencer Gifts, LLC,
12   812 F. Supp. 2d 1070, 1078 (C.D. Cal. 2011) (copyright registration was invalid when it
13   did not properly identify publication date of belt buckles in a “single unit of publication,”
14   and therefore, the plaintiff could not prove an essential element of its copyright
15   infringement claim). The Court’s ruling does not cancel the copyright registration.14
16   However, it bars Plaintiff from bringing an infringement action because there is no valid
17   registration. See id.
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               See also Masquerade Novelty, Inc. v. Unique Indus., Inc., 912 F.2d 663, 667-68
     (3d Cir. 1990) (“It has been consistently held that a plaintiff’s knowing failure to advise
21   the Copyright Office of facts which might have led to the rejection of a registration
     application constitutes grounds for holding the registration invalid and incapable of
22   supporting an infringement action.”); Raquel v. Educ. Mgmt. Corp., 196 F.3d 171, 176
     (3d Cir. 1999) vacated on other grounds, 531 U.S. 952 (2000) (“Although a failure
23   properly to register a work does not invalidate the copyright itself, it does preclude the
     maintenance of an infringement action until such time as the purported copyright holder
24   obtains a valid registration.”); R. Ready Prods., Inc. v. Cantrell, 85 F. Supp. 2d 672, 691
     (S.D. Tex. 2000) (Under copyright law, “the knowing failure to advise the Copyright
25   Office of material facts constitutes grounds for holding the registration invalid and
     incapable of supporting an infringement action.”); GB Mktg. USA Inc. v. Gerolsteiner
26   Brunnen GmbH & Co., 782 F. Supp. 763, 776 (W.D.N.Y. 1991) (declining to enforce a
     copyright because the registration contained inaccurate information).
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            14
                 The Register of Copyrights has primary jurisdiction to cancel a copyright
28   registration. See Syntek Semiconductor Co., Ltd. v. Microchip Tech. Inc., 307 F.3d 775,
     780-82 (9th Cir. 2002).

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 1   IV.   Conclusion
 2         Because Plaintiff did not properly register the work at issue in this case, the
 3   copyright registration is insufficient to support a copyright infringement claim and the
 4   Court grants summary judgment in favor of Defendants on Count One on that basis. See
 5   Cosmetic Ideas, Inc., 606 F.3d at 615 (stating that § 411(a)’s registration precondition is
 6   an element of an infringement claim); Roberts, 181 F. Supp. 3d at 1014 (dismissing a
 7   copyright claim under § 411(b) after consulting the copyright office).         The Court,
 8   therefore, does not consider the parties’ alternative arguments in support of their motions
 9   for summary judgment. (Doc. 78 at 11-17; Doc. 79 at 10-17.)
10         Accordingly,
11         IT IS ORDERED that Defendants’ Second Motion for Summary Judgment on
12   Plaintiff’s Copyright Claim (Doc. 79) is GRANTED.
13         IT IS FURTHER ORDERED that Plaintiff’s Second Motion for Summary
14   Judgment (Doc. 78) is DENIED.
15         Dated this 24th day of September, 2018.
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